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                       UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF PENNSYLVANIA

                                               :
IN RE PHILIPS RECALLED CPAP,                   :     Master Docket: No. 21-MC-1230-JFC
BI-LEVEL PAP, AND MECHANICAL                   :
VENTILATOR PRODUCTS                            :
LITIGATION                                     :      MDL No. 3014
                                               :
This Document Relates to:                      :
                                               :
 2:21-cv-01528          2:23-cv-01078          :
 (W.D. Pa.) - Ortego    (W.D. Pa.) - Smith     :
                                               :
 2:23-cv-01074          2:23-cv-01082          :
 (W.D. Pa.) -           (W.D. Pa.) - White     :
 Johnson                                       :
                                               :
 2:23-cv-01069                                 :
 (W.D. Pa.) - Jones                            :
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THE PHILIPS DEFENDANTS’ RULE 37(b)(2) AND RULE 41(b) MOTION TO DISMISS
     CLAIMS OF PLAINTIFFS FAILING TO FILE PLAINTIFF FACT SHEETS

       Defendants Philips RS North America LLC, Koninklijke Philips N.V., Philips North

America LLC, Philips Holding USA, Inc., and Philips RS North America Holding Corporation

(collectively, the “Philips Defendants”), through their undersigned counsel, respectfully move




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this Court to dismiss the claims of certain Plaintiffs with prejudice, pursuant to Federal Rule of

Civil Procedure 37(b)(2) and Federal Rule of Civil Procedure 41(b).

       As set forth more fully in the accompanying Memorandum of Law, certain Personal

Injury Plaintiffs failed to file Plaintiff Fact Sheets within the specified timeframe pursuant to

sections 5 and 13 of this Court’s Pretrial Order No. 26(b) (ECF No. 2275) (the “Non-Complying

Plaintiffs”). These Non-Complying Plaintiffs have failed to prosecute their matters, comply with

a valid Court order, and respond to discovery. Accordingly, their claims should be dismissed

with prejudice, pursuant to Federal Rule of Civil Procedure 37(b)(2) and Federal Rule of Civil

Procedure 41(b), along with such other and further relief as the Court deems just and proper.




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Dated: January 11, 2024               Respectfully Submitted,

                                      /s/ John P. Lavelle, Jr.
                                      John P. Lavelle, Jr. (PA54279)
                                      john.lavelle@morganlewis.com
                                      Lisa C. Dykstra (PA67271)
                                      lisa.dykstra@morganlewis.com
                                      MORGAN, LEWIS & BOCKIUS LLP
                                      1701 Market Street
                                      Philadelphia, PA 19103-2921
                                      Tel: 215.963.5000

                                      /s/ Wendy West Feinstein
                                      Wendy West Feinstein (PA86698)
                                      wendy.feinstein@morganlewis.com
                                      MORGAN, LEWIS & BOCKIUS LLP
                                      One Oxford Center, 32nd Floor
                                      Pittsburgh, PA 15219-6401
                                      Tel: 412.560.3300

                                      Counsel for Defendant Philips RS North
                                      America LLC

                                      /s/ Michael H. Steinberg
                                      Michael H. Steinberg (CA143179)
                                      steinbergm@sullcrom.com
                                      SULLIVAN & CROMWELL LLP
                                      1888 Century Park East
                                      Los Angeles, CA 90067
                                      Tel: 310.712.6670

                                      Tracy Richelle High
                                      hight@sullcrom.com
                                      William B. Monahan (NY4229027)
                                      monahanw@sullcrom.com
                                      SULLIVAN & CROMWELL LLP
                                      125 Broad Street
                                      New York, NY 10004
                                      Tel: 212.558.4000

                                      Counsel for Defendants Koninklijke Philips
                                      N.V., Philips North America LLC, Philips
                                      Holding USA, Inc., and Philips RS North
                                      America Holding Corporation




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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 11, 2024, the foregoing document was electronically filed

with the Clerk of the Court and served upon counsel of record through the Court’s ECF filing

system.

                                                   /s/ John P. Lavelle, Jr.
                                                   John P. Lavelle Jr. (PA54279)
                                                   MORGAN, LEWIS & BOCKIUS LLP
                                                   1701 Market Street
                                                   Philadelphia, PA 19103-2921
                                                   Tel: 215.963.5000
